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Copy of the Federal Civil Rights Lawsuit Abyimael Lewis & Beil Family VS Solano County CPS Dept!

To Whom It May Concern: This note as requested acknowledges the facts that the Federal Civil Rights Lawsuit Abyimael Lewis & Bell
Family legal Documents have been forward by USPS to Solano County Boards Of Directors Supervisor Clerks Office 675 Texas St.
Fairfield, Ca 94533! With some additional valuable information that’s critical to this case if the federal courts would allow please Thank

You! Kind Regards Clarence Bel

FEB 06 2023

CLERK, U.S. DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA
BY

DBA -CU-16F4 Tiny “KOCPS J

 

“DEPUTY CLERK
Case 2:22-cv-01687-TLN-CKD Document 8 Filed 02/06/23 Page 2 of 2
Federal Government 3/24/22 CPS Knowing Allowed Placement into the Bells Family Home. Without warning
that this Violent Dangerous Mentally Unstable 10yr Foster Child. CPS was aware that 6yr foster child in the
Bells Family Home just had Neurosurgery 6 weeks earlier and still in recovery, before this unauthorized
placement. The Bell Family wasn’t informed that this 10yr foster child had gotten into fights with other foster
children, from prior foster home where this 10yr openly willing engaged in physical Violent involvement with 2
foster teen boys. Which all 3 boys was removed, after every removal CPS does a thorough investigation and
they still allowed this Violent Mentally Unstable 10yr Eligible for placement. Having all of this information CPS
continue to seek the services of another Foster Family. CPS Job is to protect & keep Children safe even if from
themselves. CPS Called the Bell Family for placement. CPS stated that this 10yr foster child got suspended
twice for fighting with students harassed teachers with his poop & had ADHD. Nothing about his fights with other
foster children nothing about having a hearing problem, nothing about a misdiagnosis or all the information
that’s needed for proper mental disorder. CPS stated that this child was suffering from ADHD. This 10yr
Grandmother said that he has ODD & that he had a bead in his ear that affected his hearing. Which was stated
in this child’s Medical Files. Which also stated that this 10yr parent had substance abuse problems. Which this
10yr told Mr.Bell their involvement with gang members this 10yr also mention that this 10yr interest of having a
firearm. Study fines that children with ODD. That Families should go through Therapy together, for they can
understand what it’s like for this 10yr is going through, and if they don’t it could tear your Family apart. That's
exactly what happen to the Bell Family on arrival Social Worker came to the Bells Family Home with 3 pills
remaining for his Mental Disorder. Those 3 pills was to be taken at Bedtime that night! The next day the Bell
Family experience something that know family should have to experience. This 10yr foster was overly excite
argumentive with Adults bust through both of my daughters room unannounced loud rude stomping his feet
while going up and down the stairs, just out of control & disregard for other people’s. Safety including his own.
This 10yr foster child got into 6 physical violence altercation within a 2 weeks period. 3 with my daughters 3 with
our 6yr foster child. Which the Bell reach out and explain that it wasn’t a good idea to be fighting a Gyr who was
still recovering from Neurosurgery & this 6yr was 40lbs smarlier. Now the Bell Family has lived at The Tiara for
the last 12yrs nice neighborhood. This 10yr engaged in physical damage to Tiaras landscape by hitting trees
shrubs with a baseball bat, continue with this violent out of control behavior with throwing the bat up against the
basketball back board. | bought this child a Basketball from Walmart earlier, after 4 more violent attacks on my
family there was a accident that occurred while fighting with Abyimael. Which the last one this 10yr struck this
6yr boy in the head & eye. Doing this violent physical altercation this 10yr was separated the 6yr foster parent
Mr. Bell this 10yr lose his balance & tripped over the mat that’s in the boys room that they share together
landing on the side rail on the children bunk bed. Neither | or our 6yr is responsible for this 10yr mental unstable
disorder, this 6yr was put in a dangerous situation alone with the Bells FamilyThis 10yr has admitted that he
didn't like taking this prescribed medication & it didn’t work especially if this medication is prescribed for ADHD.
When he could be suffering from ODD. CPS should be held accountable for placing this violent mentally
unstable unstoppable foster child. That won’t stop fighting into he gets seriously injured. This 10yr wouldn't stop
fighting with the 2 foster teen boys until he was injured. Which he was searching for that level of violence from
this 6yr boy & the Bell Family, in which he continue to fight until his accident. We ask the courts to hoid CPS
reliable for allowing this 10yr eligible for placement where you have other foster children. When CPS knew in
Advance about the 6yr neurosurgery, they also knew about the 10yr fights with other foster children that’s a
clear violation of protecting child & keeping them safe. Not only should this 6 yr & the Bells Family be financially
reward with putative damages CPS should lose custody of this 6yr old child where not only physical abuse
mental cruelty was determined Negligence not having the proper hearing device for their 10yr foster child. CPS
removed a child after 22months. Where this child had established developed a deep seeded psychological
emotional bond. CPS knew that this child was already suffering from Abandonment attachment issues. This was
the first time that this child experience any stability. The first time to experience what it felt like to be Loved. This
might be the first time to ask that CPS no longer have custody of this 6yr for he could be adopted by the Bell
Family Thank You! Kind Regards Clarence Bell
